                       Case 6:20-cv-01012-ADA Document 12 Filed 12/13/20 Page 1 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)



                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)         TP-Link Technology Co., Ltd.
 was received by me on (date)             December 7, 2020            .

           ❒ I personally served the summons on the individual at (place)
                                                                        on (date)                                    ; or

           ❒ I left the summons at the individual’s residence or usual place of abode with (name)
                                                         , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ❒ I served the summons on (name of individual)                                                                     , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                           ; or

           ❒ I returned the summons unexecuted because                                                                             ; or

           x Other (specify): Service accomplished via Certified Mail with Electronic Delivery Confirmation
           ❒
                              USPS# 9402611898765823877568 Delivered on December 12, 2020 and via email
                              on ssmerek@foley.com and tsung@foley.com on December 7, 2020 pursuant to the                                    .
                              Court’s order granting leave to effect alternative service.
           My fees are $                          for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:     December 13, 2020
                                                                                             Server’s signature

                                                                                    Raymond W. Mort, III
                                                                                         Printed name and title

                                                                                    The Mort Law Firm, PLLC
                                                                                    100 Congress Ave, Suite 2000
                                                                                    Austin, Texas 78701
                                                                                             Server’s address

 Additional information regarding attempted service, etc:
Case 6:20-cv-01012-ADA Document 12 Filed 12/13/20 Page 2 of 6
Case 6:20-cv-01012-ADA Document 12 Filed 12/13/20 Page 3 of 6
Case 6:20-cv-01012-ADA Document 12 Filed 12/13/20 Page 4 of 6
Case 6:20-cv-01012-ADA Document 12 Filed 12/13/20 Page 5 of 6
                      Case 6:20-cv-01012-ADA Document 12 Filed 12/13/20 Page 6 of 6


Ray Mort

From:                                     Ray Mort
Sent:                                     Monday, December 7, 2020 1:25 PM
To:                                       ssmerek@foley.com; tsung@foley.com
Cc:                                       aprice@dinovoprice.com; cgoodpastor@dinovoprice.com; gdonahue@dinovoprice.com;
                                          raymort@austinlaw.com
Subject:                                  Service of process on TP-Link Technology Co., Ltd.
Attachments:                              Motions - All - Same for each case.pdf; Orders - All.pdf; Summons - 1012.pdf; Summons
                                          - 1013.pdf; Summons - 1014.pdf; Summons - 1015.pdf; Summons - 1016.pdf; Summons
                                          - 1017.pdf; Summons - 1018.pdf; Summons - 1019.pdf; Summons - 1020.pdf; Summons
                                          - 1021.pdf; Summons - 1022.pdf


Counsel,

Pursuant to the attached orders, please find attached service of process on TP-Link Technology Co., Ltd.

I have also included the Motion for Leave to Effect Alternative Service on Defendant and the Motion for Reconsideration
of same. The same motions were filed in each of the cases.

Please let me know if you have any questions,

Thanks,

Ray


                  RAYMOND W. MORT, III

                  THE MORT LAW FIRM, PLLC
                  100 CONGRESS AVE · SUITE 2000
                  AUSTIN · TEXAS · 78701

 AustinLaw.com · (512)-677-6825 · RayMort@AustinLaw.com


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